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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                MINUTES OF PROCEEDINGS


  NEWARK                                            DATE: 2/24/2025

  JUDGE: STACEY D. ADAMS


  DEPUTY CLERK: Jackeline Barco


  Title of Case: Silverman vs. McBride,et al
  Docket 22-cv-7476(CCC)


  Appearances: Michael Adler, Elly Malloy, Kayla Morin, Robin
  Michaelson, Michael Lupton, Esqs for Plaintiff,

  Scott Lichtenstein, for Defendant NGM Insurance
  Dorothy McBride Allison McBride, Justine Annucci, Pro-se
  Defendants



  Nature of proceedings:      Settlement conference held in person and
  virtually

  On record 4:12pm to 4:30pm

  Settlement place on record between Plaintiff and NGM

  Order to be submitted scheduling further processings




  Time Commenced     10:00am
  Time Adjourned     4:30pm



  cc: chambers                                     Jackeline Barco
                                             Jackeline Barco, Deputy
  Clerk
